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CIVIL DIVISION
JEREMY LENKOWSKI,
_ana'ndiMaI,

Plaintiff,
V~ Case No.: l(p-CA»DIO(LQ`T
(`ITIBANK, N A ,
a natlonal association,

Defendant.

/
VERIFIED COMPLAINT

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through the undersigned counsel, and hereby sues Defendant, CITIBANK, N.A. (hereinafter,

“Citibank” or “Defendant”). In support thereof, Plaintiff states:

_MR@BUGHQHNBMEBHNARMWMM_

This is an action for damages brought by an individual consumer for Defendant’s violations

 

 

 

 

 

 

 

“FCCPA”) and the Telephone Consumer Protection Act, 47 United States Code, Section 227

 

 

 

_€hereinafter, the “T(`PA”).
JURIS])ICTION AND VENUE

l Thl< is an action ‘Fnr damages that exceeds $l 5 mill fill excl]]s]ye of anomeys’ fees

 

 

 

 

and costs.

2 I.].. 1 5 E].. EHE].

Section 559.'/'?'.

 

 

 

3. At all material times herein, the conduct of the Defendant, complained of below,

 

 

 

 

 

 

 

 

 

 

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4. At all material times herein, Plaintiff resided in Pinellas County, Florida and

currentl resides in Hill Co Florida.

in business in Florida with its ` ci lace of business located at 701 East 60th Street N

GENERAL ALLEGATIONS

Statutes, Section 559.55(5).

Florida Statutes, Section 559.55(8).

At all material times herein, the Debt is a consumer debt, incurred primarily for

10. At all material times herein, Defendant is a “person” subject to Florida Statutes,

Corp., 819 So. 2d 809 (Fla. 4th DCA 2002).

Section 559.55(2).

 

 

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12. At all material times herein, Detendant acts itselt or through its agents, employees,

 

 

 

 

13. All necessary conditions precedent to the filing of this action occurred or have been

 

 

Waived by Defendant.

 

 

FACTUAL ALLEGATIONS

 

 

 

ul le ne mbe lj- X)t- U/ 1 hereinafter 'Le`llular Tele bone usin an automatic

 

 

 

 

 

 

15. Plaintiff owns, regularly uses, and possesses the Cellular Telephone.

 

 

 

16. At no time herein did Defendant possess Plaintiff’s prior express consent to call

 

 

Plaintiff" s Cellular Telephone using an ATDS, a PTDS, or an APV.

 

 

 

but not limited to. on or about August 27. 2014 and September l, 2014.

 

18. Additionally, if Defendant contends that the below-referenced phone calls were

 

 

made for “informational purposes only,” it nevertheless lacked the required prior express written

 

 

consent necessary to make such informational calls to riaintit"I`S beiiular Teleplione using an

 

A'l`l`}Q5 a PTDQ, nr an APV

 

 

PTDS, or an APV in an attempt to collect the Debt, on or about the following dates and times:

 

 

February 3, 2014, 1105:13 p.m. EST; Fcbruary 4, 20]4, 1:11:35 p.m. EST; February 6, 2014,

 

 

 

 

 

 

 

 

 

 

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1:08:14 p.m. EST; February 7, 2014, l:09:10 p.m. EST; February 8, 20]4, l:l6:08 p.m. EST;

 

 

 

1110:22 p.m. EST; February 12, 2014, 1212;21 p,m, EST; February 13, 2014, l:l l :21 p.m. EST;

 

 

February 14, 2014, 1109:53 p.m. EST; February 15, 2014, 1:13:03 p.m. EST; February l6, 2014,

 

 

 

4, 2014, l:ll:50 p.m. EST; April 5, 2014, 1110:48 p.m. EST; April 6, 2014, 1110:34 p.m. EST;

 

 

April 7, 2014, 1:09:52 p.m. EST; April 8, 2014, 1:09:53 p.m. EST; April 9, 2014, 1108:45 p.m.

 

 
   

3

 

 

 

 

 

 

 

 

 

 

 

l:13:51 p.m. EST; Mav 8, 2014, l:l3:34 p.m. EST; May 9, 2014, 1:12:34 p.m. EST; May 10,

 

 

2014,1:15:03 p.m. EST; May Il, 2014,1114:51p.m.EST;May12, 2014, 1115:31 p.m. EST; May

 

 
     

9 3

May16, 2014,1:17:14 p.m. EST; May 17, 2014, 1:15:58 p.m. EST; May 18, 2014, l:l6:15 p.m.

 

 

EST; May 19, 2014, l:15:49 p.m. EST; May 20, 2014, 1:14:48 p.m. EST; May 21, 2014, l:15:47'

  
 

  

D-m- § ! 9 9 3

       

 

1117;07 p.m. Esr; May 25, 2014, 1:17;02 p.m. EST; May 27, 2014, 1117;23 p.m. EST; May 23,

 

 

 

 

 

 

 

 

 

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7, 2014, l:15:29 p.m. EST; June 8, 2014,1:15:26 p.m. EST; June 9, 2014,1:14:47 p.m. EST; June

 

 

lO, 2014, 1:15:48 p.m. EST; June ll, 2014, l:16:15 p.m. EST; June 12, 2014, 1115:06 p.m. EST;

 

 

June 13, 2014, 1;15;26 p.m. EST; June 14, 2014, 1:16:07 p.m. EST; June 15, 2014, 1;16;22 p.m.

 

 

 

 

 

 

 

27, 2014, 1 ;16:36 p.m. EST; June 23, 2014, 9;44;35 a.m. EST; June 23, 2014, 12:58117 p.m. EST;

 

 

 

June 29, 2014, 9:42:43 a.m. EST; June 29, 2014, 11:45:51 a.m. EST; June 30, 2014, 9:29:21 a.m.

 

 

EST; June 30, 2014, 3:07:27 p.m. EST; July l, 2014, 9:18:00 a.m. EST; July I, 2014, 9:18:00 a.m.

 

 

 

 

2014, 3:10:29 p.m. EST; July 20, 2014, 10:49:04 a.m. EST; July 20, 2014, 12:51101 p.m. EST;

 

 

July 2], 2014, 9:37:54 a.m. EST; July 22, 2014, 9:27:06 a.m. EST; July 22, 2014, 2:50‘.40 p.m.

 

 

i'_‘.bl; .luly L.$, ZU14, 9!19201 a.m. bbl; July Zj, ZU14, 1115 /140 p.m. bbl; Jllly 24, 1014, 9219211

 

 

 

2014, 2158:24 p.m. EST; July 29, 20]4, 2:52:40 p.m. EST; July 30, 2014, 9:22:57 a.m. EST; July

 

 

30, 2014, 2:38:14 p.m. EST; July 31, 2014, 9:26:56 a.m. EST; July 31, 2014, 2:49:39 p.m. EST;

 

 

 

 

 

 

 

 

 

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August l, 2014, 9:25:42 a.m. EST; August l, 2014, 2:33:04 p.m. EST; August 2, 2014, 9:43:20

 

 

 

 

 

 

   

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7"~'\‘§"70 p m FQT; Aiigiiet R, 7014, 9"%9'()’) a m FST; Augu<;t R, 2014, 2'54"§4 p m FST; Augii'~it

 

 

9, 2014, 9:39:51 a.m. EST; August 9, 2014, 1:43:38 p.m. EST; August 10, 2014, 9:54:55 a.m.

 

 

2:56:45 p.m. EST; August 12, 2014, 2:58:46 p.m. EST; August 13, 2014, 9:26:48 a.m. EST;

 

 

 

August lj, 2014, 2:1)5:2 l p.m. bd l ; August 14, 2014, 9:29:Ul a.m. bb 1 ; August 14, 2014, 2:425:29

 

 

 

2014, 9;35:44 a.m. EST; August 17, 2014, 9:50:43 a.m. EST; August l7, 2014, 11:51:12 a.m. EST;

 

 

 

August 18, 2014, 9:25:04 a.m. bb l ; August 18, 2014, 5:08:41 p.m. hb 1 ; August 19, 2014, 9:25:55

 

a m F§T`; Ai)giiqt ’)()7 901-43 0'70~'%4 a m F`QT; Augu<:t 20, 7014, 441 'ZR p m FQT; Aiigiiqt 71 ,

 

2014, 9:32:55 a.m. EST; August 2l, 2014, 3:12:30 p.rn. EST; August 22, 2014, 9:32:20 a.rn. EST;

 

 

p m `FQT; Aiigiiet 747 7014, O'§A"l') n m F`QT`; Ailgii\:'r ')/-l7 7014, l 1'55'44 n m FQT; Aiigii‘:t ')'§,

 

 

2014, 9:25:10 a.m. EST; August 25, 2014, 3109:23 p.m. EST; August 26, 2014, 9125:02 a.m. EST;

 

 

p.m. EST; August 28, 2014, 9:27:42 a.m. EST; August 28, 2014, 3:06:28 p.m. EST; August 29,

 

 

2014, 9:56:23 a.m. EST; August 29, 2014, 4:43:17 p.m. EST; August 30, 20]4, 9:56:48 a.m. EST;

 

 

 

ll:59:45 a.m. EST; September 2, 2014, 9:32:48 a.m. EST; September 2, 2014, 3:05:20 p.m. EST;

 

 

 

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f;aee.s-i¢= ~' MMMmem-a-FHMQ-Pege-Peais-PageiD-iz¢

 

 

 

 

 

 

 

September 3, 2014, 9:38:28 a.m. EST; September 3, 2014, 3:10:59 p.rn. EST; September 4, 2014,

 

 

 

 

 

 

 

 

 

 

p.m. EST; September 13, 2014, 9:45:26 a.m. EST; September 13, 2014, 2:35:42 p.m. EST;

 

 

 

September 14, 2014, 9:55:14 a.m. EST; September 15, 2014, 9:24:05 a.m. l:,bi; September 13,

 

 

 

 

 

 

 

 

 

 

 

2014, 9:18:47 a.m. EST; September 26, 2014, 2:46:08 p.m. EST; September 27, 2014, 9:53:05

 

 

a.m. EST; September 27, 2014, 1:49:04 p.m. EST; September 28, 2014, 9:47:51 a.m. EST;

 

 

 

2014, 9:30:25 a.m. EST; September 30, 2014, 2:58:34 p.m. EST; October 8, 2014, 8:40:53 a.m.

 

 

 

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8:27:17 a.m. EST; October 10, 20l4, 3:44:15 a.m. EST; October 10, 2014, 5:17:57 p.m. EST;

 

October ll, 2014, 12:57'.41 p.m. EST; October ll, 2014, 5:00:39 p.m. EST; October 12, 2014,

 

 

9:57:10 a.m. EST; October 12, 2014, 12:19:58 p.m. EST; October 12, 2014, 3:11:13 p.m. EST;

 

 

 

 

 

 

 

p.m. EST; November ll, 2014, 12:10:01 p.m. EST; November 12, 2014, l2:06:55 p.m. EST;

 

 

 

November 13, 2014, 12:01123 p.m. EST; Novernber 14, 2014, l2;35:29 p.m. EST; November 15,

 

 

2014, 12:04:41 p.m. EST;November 16, 2014, ll:56:15 a.m. EST; November l7, 2014, 12:28:32

 

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p.iii. ne 1 .

n ne` i a - " e e,

Defendant left Plaintiff a minimum of 144 voicemail messages employing identical prerecorded

 

messages with generic content.

 

 

21. Due to both professional and personal commitments, as well as the continued and

 

 

increasing stress associated with the barrage of l)ebt collection calls from Defendant, Plaintiti Was

 

 

 

a sub-set of the calls that Def'endant made in violation of the FCCPA and TCPA, each of which

 

caused Stress, anxiety, and inability to use Plaintiff’ s Cellular Telephone when Defendant made

 

 

 

 

 

 

 

 

 

 

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methodology of debt collection calls made to Plaintifi`.

 

 

 

22. During several of the aforementioned calls, including but not limited to calls

 

 

 

 

23. As a direct result of Def`endant’s actions, Plaintiff suffered emotional distress,

 

 

anxiety, inconvenience, frustration, annoyance, fear, confusion and loss of sleep, believing that

 

 

 

repeated debt collection attempts to his Cellular Telephone would simply have to be endured.

 

24. Plaintiff retained Undersigned Counsel for the purpose of pursuing this matter

 

 

 

damages. actual damages. punitive damages. and an award of attcmevs’ fees and costs to Plaintif`f.

 

 

should Plaintifi` prevail in this matter against Defendant.

 

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or actual damages whichever is greater. for each telephone call made using any automatic

 

telephone dialing system or an artificial or pre-recorded voice to Plaintiff’s Cellular Telephone in

 

 

violation of the TCPA or the regulations proscribed thereunder.

 

 

27. Additionally, the lCl’A Section 22 /(bl( 51 allows the trial court to increase the

 

 

dialing system or an artificial or prerecorded voice to Plaintif`f’s Cellular Telephone in willful or

 

 

 

knowing violation of the TCPA or the regulations proscribed thereunder

 

 

 

 

 

 

 

 

 

 

 

 

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Case 8:16-ev- - ` |D 127 ,,

 

 

 

 

 

 

 

to collect the Debt. Likewise, no final judgment with respect to the Debt has been obtained by, or

 

 

transferred to, Defendant.

 

 

 

 

 

 

 

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_canreasonabl§abe£xpectedldahuse or harass Plaintiff.

 

 

 

 

 

 

' period, often two or three calls per day, without Plai`ntiff’s prior express consent to auto-dial his

 

 

Cellular Telephone. Said calls continued despite Plaintiff` s oral requests on several occasions for

 

 

Defendant to stop calling his Cellular Telephone

 

 

31. Defendant’s willful and flagrant violation of, inter afi`a, the Florida Consumer

 

 

Collections Practices Act, as a means to collect a Debt, constitutes unlawful conduct and

 

 

harassment as is contemplated under l'lorida Statutes, bection 339. /2( l).

 

 

32. As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

_asdefinedbyal?_loridar§tatutes,_$ection *59.'!?.

 

 

 

Fn'lii\l"|" '1"\‘.\)‘!`\.
\..UUl‘l 1 \.l-

TELEP ONE CONSUMER RO'I`EC'I`ION ACT-

 

       

 

 

 

 

 

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is nprend =

 

 

 

bection 22 / (`b)(l ltA)

 

 

 

 

 

 

 

cellular telephone service without Plaintiff"s prior express consent.
34. Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to call Plaintiff’s Cellular Telephone at least 280 times in its attempt to collect the

 

 

 

 

 

 

 

 

 

 

 

Debt
0 lme l 3 en
Cellular Telephone
'§6 Fiirthgr, if I')P+`i=ndant contends that it possessed siir‘h cnnsent, Plaintif‘f` revoked

such consent the moment Plaintiff orally requested Defendant stop calling his Cellular Telephone.
37. Additionally, if Def`endant contends that the above-referenced phone calls were

made for “infonnational purposes only,” it nevertheless lacked the required prior express consent

 

 

 

 

 

 

 

 

 

 

 

willful and knowing violations of the TCPA.

 

39. AS a direct and proximate result of Defendant’s conduct, Plaintiff suffered:
a. The periodic loss of his cellular telephone service;
b. Lost material costs associated with the use of peak time cellular telephone

 

 

 

 

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5 1 5 !

personal and professionali as a result of the repeated willful and knowing calls made in

 

 

violation of the TCPA.

 

_PR?YYERFORRETFEF

 

 

WHEREFORE, as a direct and proximate result of the Defendant’s conduct, Plaintiff

 

_respeetftdineqUests an entry of.

a. Judgment against Defendant declaring that Defendant violated the FCCPA;

 

 

 

 

 

 

 

 

 

 

e. Judgment against Defendant for treble damages in the amount of an

 

 

 

additional $1,000.00 for each telephone call that violated the TCPA for which Defendant

ll . l l[ .HFH;

 

 

 

 

 

 

f`. Actual damages iri an amount to be determined at trial;
g. An awardo£anorneyslfeesan¢coseTaHd_
h. Any other such relief the Court may deem proper.

 

DEMAND F()R .IURV TRTAI.

 

Plaintiff hereby demands a trial by jury on all issues triable by right.

 

   

' n l ';‘T[oilx‘[!]il'ii'i\i‘l ll ll Dl\'l E`\‘l ll nl il ill 15 lx‘I il\'l l I] nlr‘[.

 

Plaintiff hereby gives notice to Defendant and demands that Defendant and its affiliates

 

 

 

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as required by iaw.

 

 

 

 

 

 

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/s/ Aarrm M Swi#

 

 

l:] 1211 K. Le§!§l‘lg§!!!d, lLSq., b Hl§ nlll§ll!l(l]

 

 

iXi Aaron l`vf. Swii`t, Esq., FBN093088

 

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f’h()ne‘ t727) 527-1528

Fax: (72'/') 521-5505

 

consumerservree@leavenlawwm_` .

 

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_glereher@leavenlaweem_

 

sweiss@lPQVE-nlaw_gnm

 

Attornei)sjnr Plainti',f,f

 

 

 

 

 

 

 

 

 

 

